Case 1:21-cv-07957-LAK   Document 94-14   Filed 06/30/23   Page 1 of 3




  EXHIBIT 94
                                                                                                                                                                                                                                      =:: -=_   -~--   =--
                            Case 1:21-cv-07957-LAK                                Document 94-14        Filed 06/30/23                     Page 2 of 3                                                  -   :.   _ _-   -_   - -; -




                                                                                                                                                          THE GENE COLAN INTERVIEW

                                                                                                                                                                              By Clifford Meth -June 17. 1995

      consistent strength out of a potential weakness. Gene Colan created stop
      and stare work that never forced the reader into either.
         Many feel that Colan's masterwork is his long run on Tomb of Dracula with
      Marv Wolfman, from 1972 to 1979. Wbile there's excellent work to be found
      throughout the cartoonist's career- from his first stint with Martin
      Goodman's comics company through his reliable, sometimes stunning work
      on second - tier Marvel characters including a few Black Widow adventures
      that may have pushed an entire generation of male comics readers into
      puberty, into Night Force at DC and any number of admirable, non-super-
      hero projects that came in the 198o's and 199o's like Ragamuffins and
      Nathaniel Dusk - ifs revisiting Colan·s take on the Dracula mythos that I
      think provides the greatest thrills. Very few artists could walk the thin line
                                                                                           I
                                                                                           l
      benveen the hideous and the charismatic as Colan could. and even fewer
      have been able to find something sad and broken in traditional
      attractiveness, a quality with which Colan imbued the title's hero es and
      heroines. Colan's work with light and shadow was never better than on
      Tomb; it gave his work a depth that pushed the hopelessness of the various           i
       situations presented out of the foreground and into the wider world behind
       it. There's a relentlessness that Colan taps into on that comic tha1's as




                                                                                           I
       impressive a feat as any American comic illustrator's: every single moment
       of horror or foreboding suggests a shadow behind with its own dank, awful
       secret. When he shifts from solid form into mist, Colan's Dracula rarely
       slips away but tends to fill the room with his presence, corner to comer. The
       visual rhythm is full of changes of direction and the primary relationship
       motif is of one person lunging at or enveloping another person, covering
       them. Colan created a comic of despair and exhaustion that stops just short




                                                                                           I
       of our needing to put it down.
          Comics can be a demeaning business for even the best artists, as
       commercial demands and stylistic fads can cut into the finest intentions for
       personal expression and make things tougher for those who enjoy the




                                                                                           I
        applications of craft. Gene Colan was among a handful of truly distinctive,
        constantly working artists in an era that featured cookie -cutter production
        to a degree that was remarkable even by comics industry standards. His
        presence on the spinner racks was a constant reminder to fans that any
        number of creative choices can be made to work on the comics page. Many
        artists that found purchase in that arena and still find it today owe the
        fundaments of their introduction into the eyes and minds of their audiences
                                                                                           I


                                                                                          l
        to a man that went there first. so stylishly. so smartly and in such an
        understated fashion despite talent as to humble us all.



118     THE FOnGOTTEN COM IC BOOK SUPERSTAR                                                                                                               THE 1Nv1NcrBLE GENE                     coLA COLANrQ061
                                                                                               .;_:f·~-k..L¥.4-m&~½ 1\if .fF..(. !_¥h=-~~~o-=~ -~~~ ~.,..,.~,..~.... ·«   ~ - ,,,.,,.___ ~- - - - - -
                          Case 1:21-cv-07957-LAK                                    Document 94-14    Filed 06/30/23                     Page 3 of 3




      big chance I took Stan thought I was nuts. He said, "You could have told this                  wanted to believe I was a movie maker. It was as close as I was going to get
      whole damn thing in two or three panels!" But it turned out that the story met                 to directing film.
      with a lot ofapproval. The fans loved it. Ithink it was the first time it was                  M 1.1   a, Any regrets?
      done. It turned out to be a good thing.
                                                                                                               Sometimes I wish I'd gone into film, but looking at the industry, I
      METH:   Favorite inker?
                                                                                                     don't think I'd have lasted more than a month. It would have buried me.
      coL1s: My favorite inker was absolutely Al Williamson. He inked me over                        I've had fifty years in comics. I've earned a decent living. And I've loved
      Wolverine, some horror stuff, and the latest version of Dracula ... Also, right                every minute of it.
      up there is Tom Palmer. We did Tomb ofDracula together for thirteen years.
      Tom is an excellent inker. His work reminded me a lot of Caniff's work, but
      Tom was even better in certain ways.
      METH: Do you have a favorite writer?

      COLAN: Yes-Steve Gerber was one of the best writers that I ever worked




                                                                                                                                                              •. t~
      with. Also Don McGregor.
                                                                                                                                                                                       -,::./
      METH: The lion's share of your work was super-hero books, but many fans

      regard you as a horror artist.
              I loved the horror books. That's what seeing "Frankenstein·· did to

                                                                                                                                                             >,· . \}fl
                                                                                                                                                        ~                ,·.. . "'-.\J,;"
      me. I just love to be scared. I would stand outside of the movie theater when
                                                                                                                                                      -j
      I was a kid before going to a Saturday afternoon matinee. I couldn't get up                                                                      -:..-:::,           ..
                                                                                                                                                     "--··                        /
      the nerve to go in by myself. I was so afraid, standing out there going.
                                                                                                                                                                   •.·



                                                                                                                                                                                ...>

      "Should I or shouldn't I?" But I loved them-I just loved them. And I loved
      drawing them.                                                                                                                                                                         ......




                                                                                                                                                     )ii,: t
      METH: Many of the artists who came after you have acknowledged your in -
                                                                                                                                                                   ,.,                          d
      fluence on their work, and on the genre. Do you feel appreciated?
      ,·,,1., ·•. I can't believe it, really. I don't look upon myself as anything special.
                                                                                                                                         ,•:e. '
      There were a lot of artists who were much better than I was ... When I                                                              t -··.~~
                                                                                                                                         ··!"'o'
                                                                                                                                      ; !'··· -~
                                                                                                                                                i, ,
                                                                                                                                                   <.-
      started, I had two things in view. Only two. I wanted to have fame-I really
      did. I knew I wasn't going to be an actor, but my goal was to be the best in
                                                                                                                                      r·
                                                                                                                                      .);'..,._.ti




      comics that I could be. But it's funny, because even when I received fan
      mail, I always thought it was for somebody else. You get so involved with
      what you're doing that you only see what you're doing-you don't see much
      else. It's like when you're heading home, you know you're walking in the
      street, but your mind is elsewhere. In a certain sense, you're not seeing-
      you' re only seeing what you·re thinking. That's what happened with me. I
      never thought all that much about the money. I never thought I'd be rich in
      this business, or that I'd drive around in a Cadillac or a Mercedes, although
      at one time I did have a Cadillac. It was stolen. But anyway, I never thought
      about the money in the beginning-I just wanted to get into the business
      and be somebody. I didn't care for advertising art. I wanted to tell stories. I



130   THE GENE COLAN INTERVIEW
                                                                                                                                                                                                     COLAN -0067
                                                                                                                                                     1:HE INVINCIBLE GENE COLAN
